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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                         HUNTINGTON

RICHARD EDWARDS, JR.,

               Plaintiff,

v.                                            CASE No.: 3:16-cv-01879
                                              Judge Robert C. Chambers


MCELLIOTTS TRUCKING, LLC;
DANNY McGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC.:

  PLAINTIFF’S MOTION TO WITHDRAW PLAINTIFF’S MOTION TO ENFORCE
 SETTLEMENT AGREEMENT AGAINST DEFENDANTS MCELLIOTS TRUCKING,
        LLC AND DANNY MCGOWAN AND REQUEST FOR HEARING

        Now comes the Plaintiff, Richard Edwards, Jr., by counsel, and notifies the Court that the

Defendants have now fulfilled their settlement obligations to the Plaintiff. Therefore, the Plaintiff

wishes to withdraw his earlier “Plaintiff’s Motion to Enforce Settlement Agreement Against

Defendants McElliots Trucking, LLC and Danny McGowan and Request for Hearing” as it is no

longer necessary.

                                                              RICHARD EDWARDS

                                                              BY COUNSEL

        S:// Connor D. Robertson____________
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  Case 3:16-cv-01879 Document 284 Filed 07/29/19 Page 2 of 2 PageID #: 3941




                      IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION

RICHARD EDWARDS, JR.,

                      Plaintiff,

   v.                                                    Civil Action No. 3:16-1879


MCELLIOTTS TRUCKING, LLC;
DANNY MCGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC;
HAROLD MIDKIFF, individually as agent driver of McElliotts
Trucking, LLC and/or as agent driver of
Cardinal Transport, Inc.,

                      Defendants.

                                      CERTIFICATE OF SERVICE

        I, Connor D. Robertson, certify that I electronically filed Plaintiff’s Motion to Withdraw
Plaintiff’s Motion to Enforce Settlement Agreement Against McElliotts Trucking, LLC & Danny
McGowan and Request for Hearing with the court using CM/ECF system which will send
notification to counsel of record:

 Christopher Pence, Esq.                        Daniel Schuda, Esq.
 Charles Bellomy, Esq.                          Anspach Law
 Hardy Pence, PLLC                              P.O. Box 11866
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